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              EXHIBIT 3
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June 19, 2018

VIA EMAIL
Lynn Miller, Esq.
Tesla, Inc.




RE:    Martin Tripp preservation request

Dear Ms. Miller,

Apple Inc. (“Apple”) is in receipt of your preservation request. As a non-party to the liti-
gation, Apple does not have a duty to preserve evidence in response to a request. Wilson v.
Beloit Corp., 921 F.2d 765, 767 (8th Cir.1990) (“there is no duty for a nonparty to preserve
possible evidence for another party to aid that other party in some future legal action
against a third party.”) As such, Apple will not preserve evidence in response to your re-
quest absent service of appropriate legal process. See In re Napster Inc. Copyright Litig.,
462 F. Supp. 2d 1060, 1068 (N.D. Cal. 2006) (third party under legal obligation to preserve
documents responsive to subpoena only once subpoena is issued).

By this letter, Apple does not intend to waive any applicable objections.

Sincerely,


Maya Kumar*
Legal Specialist
Apple Inc.
subpoenas@apple.com
*Not authorized to practice law.
